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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

               V.
                                            Cr. No. 09-10166-MLW

SALV^TORE F. DIMASI,
        Defendant.


                             MEMORANDUM AND ORDER


WOLF, D.J.                                                   May 22, 2017

        On November 17, 2016, the court allowed the Director of the

Bureau of Prisons' (the "BOP") motion to reduce defendant Salvatore

DiMasi's eight-year sentence to the almost five years DiMasi had

served    (the      "Motion").     See   United   States   v.   DiMasi,   2016   WL

6818346 (D. Mass. Nov. 17, 2016).               The Motion was filed pursuant

to 18 U.S.C. §3582(c)(1)(A)(i), which gives the court the authority

to reduce a sentence if the Director requests it and the court

finds that "extraordinary and compelling reasons warrant such a

reduction."


     As fully described in the November 17, 2016 Memorandum and

Order, the court was informed that, in 2012, while DiMasi was

serving his sentence for extortion and related crimes committed

while     he   was     the    Speaker      of   the   Massachusetts    House     of

Representatives, it was discovered that he had cancer in his neck

and tongue.      He was treated with chemotherapy and radiation.               This

treatment      resulted      in   DiMasi    needing   to   receive    nourishment
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through a feeding txibe for about a year.                DiMasi had been free of

cancer since at least July 2013.

     Beginning       in    2015,     the   BOP     repeatedly   denied      DiMasi's

requests that a motion to reduce his sentence be filed pursuant to

§3582(c)(1)(A)(i).         However, after the intervention of the United

States    Attorney      for   the    District      of   Massachusetts,      the     BOP

reconsidered the matter.


     In August 2016, a medical test was done to evaluate DiMasi's

ability    to   swallow.      A   BOP    doctor   interpreted   the       results   as

indicating      that:     DiMasi's      throat    had   narrowed;   he    had   great

difficulty       swallowing;         and    his     condition       was     serious,

deteriorating, and unlikely to improve. The Medical Director of

the BOP subsequently concluded that "it is medically indicated

that someone be present to assist [DiMasi] with choking prevention

while eating or drinking." Id. at *3. The BOP could have assigned

an inmate companion to monitor DiMasi while he was eating or

drinking. It chose instead to file the Motion for his early

release.


     For the reasons fully explained in the November 17, 2016

Order, the court allowed the Motion. It explained, in part, that:

     Although now cancer free, DiMasi is suffering from a
     serious medical condition. The treatment for his cancer
     has narrowed his throat, requiring a special diet. He
     is, however, still at risk of choking whenever he eats.
     As previously noted, the Medical Director of the Bureau
     of Prisons found that "it is medically indicated" that
     DiMasi be monitored while eating.. This opinion is
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     central to the court's conclusion that DiMasi's release
     is justified. The Bureau of Prisons could provide an
     inmate companion to monitor DiMasi when he eats.
     However, the court finds that it would be more effective
     for his family, and professionals it may hire, to perform
     this function.

Id. at *4.


     The court also found, however, that the reduction of DiMasi's

sentence was justified only if certain new conditions of Supervised

Release were imposed. More specifically, the court modified the

conditions of DiMasi's Supervised Release "to include at least six

months home confinement, in the custody of his wife Deborah DiMasi,

who [was] ordered to assure that a family member or professional

health aide is with DiMasi whenever he eats or drinks to minimize


the risk of choking or other harm to DiMasi." Id. at *24.

     In explaining the reasons for the,six-month period of home

confinement, the court wrote:

     Ordinarily, DiMasi would, like other eligible inmates,
     be subject to such a six-month transition toward the end
     of   his   sentence.   The   court   finds   that   the   usually
     required placement in a Residential Re-entry Center is
     not appropriate. However, in view of his medical needs,
     it is particularly important that DiMasi serve a six-
     month period of home confinement to facilitate his
     transition to the community, and to develop a record
     concerning his current needs and capacity to function in
     the community, which will inform the court's decision
     concerning what conditions of Supervised Release are
     appropriate after the usual transitional period.

Id. at *25. The court also stated that:


     After the first three months of his home confinement,
     DiMasi may move for a modification of this condition of
     his Supervised Release if there is medical evidence to
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      support such a request. The court may consider replacing
      the remaining period of 24-hour home confinement with a
      curfew. The court may also consider whether DiMasi's
      period of home confinement should be extended beyond six
      months.


Id.


      After     three   months,   DiMasi    requested   that     his    home-

confinement be reduced to a curfew.        The court denied that request

in meaningful measure because:

      DiMasi's oncologist's brief, unverified statement that
      DiMasi's "swallowing capacity has shown improvement" is
      not sufficient to persuade the court that the need for
      monitoring that was successfully argued to be a
      substantial justification for his early release was
      never necessary or is no longer necessary. However, if
      such evidence exists, DiMasi may present it in support
      of a motion for iceconsideration of this denial of his
      request that a curfew be imposed in place of home
      confinement. It may, in any event, be necessary to
      address  these   questions   if  and   when   the  court
      "consider[s] whether DiMasi's period of home confinement
      should be extended beyond six months." DiMasi, 2016 WL
      681364 at *25.


Mar. 31, 2017 Mem. & Order (Docket No. 927) at 8-9.

      Unless     extended,   DiMasi's      six-month    period    of    home

confinement will end on May 22, 2017.         However, unless modified,

the independent condition that DiMasi be monitored by a member of

his family, or a professional healthcare aide, whenever he eats or

drinks will continue.


      On May 18, 2017, the Probation Department received a letter

from the oncologist at Dana-Farber Cancer Institute              who began
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caring for DiMasi after his release in November 2016.           The letter

states, in part, that:

     At initial consultation, [DiMasi] continued to display-
     no evidence of [cancer] but had chronic dysphagia.^ I
     recommended a swallow study and swallow therapy with our
     speech and language pathologist. After several months of
     treatment, Mr. DiMasi has demonstrated improvement. He
     is judged to be safe to consume a regular diet and
     nectar-thick liquids, while adhering to the recommended
     swallowing techniques.    Mr. DiMasi does not require
     supervision of family members or health professionals
     while eating. He should continue to implement necessary
     precautions such as prophylactic cough, a liquid
     wash/water with solids, and allow additional time to
     consume meals.


May 17, 2017 letter from Dr. Robert Haddad, Ex. 1 hereto.^




     ^"Dysphagia"   means   "difficulty     in   swallowing."    See
http://www.webmd.com/digestive-disorders/tc/difficulty-
swallowing-dysphagia-overview#1.

     2 In United States v. Kravetz, 706 F.3d 47, 58 {1st Cir.
2013), the First Circuit held that letters submitted to the
court that are intended to affect a judicial decision are
presumptively public.   The March 31, 2017 Memorandum and
Order, at 8-9, put DiMasi on notice that any letter from a
doctor would be relied upon by the court in deciding whether
to modify the conditions of Supervised Release. DiMasi now
has submitted such a letter and the court has relied on that
letter in reaching its decision.       Accordingly, any personal
privacy interest DiMasi may have in the information contained
in that letter does not outweigh the presumption of public
access in this case.     See Kravetz, 706 F.3d at 63-4.          The
court also finds that any privacy interest of the doctor does
not outweigh the presumption of public access. See id. at
62-3. Therefore, the doctor's letter is being made Exhibit
1 to this Memorandum with only DiMasi's date of birth
redacted.
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       In view of the foregoing, on May 19, 2017, the Probation

Department        recommended   that   the   court    allow    DiMasi's        home-

confinement to end as previously scheduled on May 22, 2017.                       It

also    recommended      that   the    condition     of    Supervised    Release

requiring that DiMasi be monitored while eating and drinking be

removed.     The court's usual practice is to follow a recommendation

of the Probation Department unless there is cause to question

whether it is well-informed and reasonable.                 In this case, the

court finds that the Probation Department's recommendations are

properly supported and reasonable.

       Therefore, it is hereby ORDERED that;

       1.   The    Special   Condition   requiring        six-months    home

detention shall end on May 22, 2017.

       2. The Special Condition requiring that DiMasi be monitored

by a member of his family, or a professional health aide, whenever

he eats or drinks is REMOVED.


       3. All other conditions of DiMasi's Supervised Release remain

in effect.




                                       UNITED STATES DISTRICT JUDG^jj
